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                       1 LATHAM & WATKINS LLP
                           Marvin S. Putnam (Bar No. 212839)
                       2     marvin.putnam@lw.com
                       3   Laura R. Washington (Bar No. 266775)
                             laura.washington@lw.com
                       4 10250 Constellation Blvd., Suite 1100
                         Los Angeles, California 90067
                       5 Telephone: +1.424.653.5500
                       6 Facsimile: +1.424.653.5501
                       7 Attorneys for Defendants
                         Netflix, Inc., and
                       8 Netflix Worldwide Entertainment, LLC
                       9
                                            UNITED STATES DISTRICT COURT
                  10
                                          CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12       FIONA HARVEY,                         Case No. 2:24-cv-04744-RGK-AJR
                  13
                                        Plaintiff,               DEFENDANTS’ EVIDENTIARY
                  14                                             OBJECTIONS TO EVIDENCE
                                v.                               OFFERED BY PLAINTIFF IN
                  15                                             SUPPORT OF HER OPPOSITION TO
                           NETFLIX, INC., and NETFLIX            DEFENDANTS’ SPECIAL MOTION
                  16       WORLDWIDE ENTERTAINMENT,              TO STRIKE
                           LLC,
                  17                                             Date:         September 16, 2024
                                        Defendants.              Time:         9:00 a.m.
                  18                                             Place:        Courtroom 850
                  19                                             Hon. R. Gary Klausner
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                       1 I.     INTRODUCTION.
                       2        In opposing defendants Netflix, Inc. and Netflix Worldwide Entertainment,
                       3 LLC’s (collectively, “Netflix”) Special Motion to Strike (the “Motion”), plaintiff
                       4 Fiona Harvey (“Harvey”) cannot rely on declarations that lack foundation or
                       5 personal knowledge, or that are argumentative, speculative, impermissible opinion,
                       6 hearsay, or conclusory. Yet, in support of her Opposition to Defendants’ Special
                       7 Motion to Strike (the “Opposition”), Harvey proffered declarations and other
                       8 evidence that are fundamentally flawed and replete with hearsay, lack of foundation,
                       9 speculative assertions, improper legal conclusions, and irrelevant information. Such
                  10 deficiencies render most of Harvey’s proffered evidence unreliable, inadmissible,
                  11 and improper. Netflix therefore submits these evidentiary objections to Harvey’s
                  12 improper evidence.
                  13 II.        LEGAL STANDARD.
                  14            For purposes of an anti-SLAPP motion, courts consider “the pleadings, and
                  15 supporting and opposing affidavits stating the facts upon which the liability or
                  16 defense is based.” Cal. Civ. Pro. § 425.16, subd. (b)(2). Courts may also consider
                  17 declarations supporting or opposing an anti-SLAPP motion so long as they are based
                  18 on personal knowledge and executed under penalty of perjury. Anheuser-Busch
                  19 Cos., Ltd. Liab. Co. v. Clark, No. 2:13-cv-00415-TLN-CKD, 2017 U.S. Dist. LEXIS
                  20 42680, at *9 (E.D. Cal. Mar. 23, 2017) (collecting cases). “Declarations that lack
                  21 foundation or personal knowledge, or that are argumentative, speculative,
                  22 impermissible opinion, hearsay, or conclusory are to be disregarded.” Gilbert v.
                  23 Sykes, 147 Cal. App. 4th 13, 26 (2007); see Tuchscher Dev. Enterprises, Inc. v. San
                  24 Diego Unified Port Dist., 106 Cal. App. 4th 1219, 1238 (Cal. Ct. App. 4th Dist.
                  25 2003) (rejecting a declaration “supported only by information and belief or his mere
                  26 understanding of events”).
                  27            Harvey may only offer admissible evidence to support her claims. However,
                  28 for the various reasons listed below, the declarations and numerous attached exhibits
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                       1 filed by Harvey in support of her Opposition are not admissible and consequently,
                       2 the Court should not consider these documents.
                       3 III.   OBJECTIONS.
                       4        A.    Levenson Declaration and Attached Exhibits
                       5              1.    Levenson Declaration
                       6        The Levenson Declaration is objectionable on several grounds.
                       7        Paragraph 5 contains a quote by Netflix’s Senior Director, Public Policy
                       8 Netflix, Mr. Benjamin King, from a letter to Parliament.         This statement is
                       9 inadmissible as statements before Parliament are absolutely privileged and
                  10 unactionable. See Scott v. McDonnell Douglas Corp., 37 Cal. App. 3d 277, 288, 293
                  11 (1974); Pettitt v. Levy, 28 Cal.App.3d 484, 488 (1972). Moreover, it is also
                  12 inadmissible hearsay. See Fed. R. Evid. §§ 801, 802.
                  13            Paragraphs 5 and 10 are irrelevant. Under Federal Rule of Evidence 401,
                  14 evidence is only relevant if it “(a) has any tendency to make a fact more or less
                  15 probable than it would be without the evidence, and (b) the fact is of consequence in
                  16 determining the action.” Fed. R. Evid. § 401. Neither prong is satisfied as to either
                  17 of these paragraphs. In paragraph 5, the statement referencing “the person on whom
                  18 the show is based” does not make any fact more probable, let alone one of
                  19 consequence, particularly given that it does not even name Harvey. The same can
                  20 be said of paragraph 10, which discusses what screen Mr. Levenson saw after
                  21 watching the Series on Netflix’s platform and includes a similarly irrelevant
                  22 screenshot.
                  23            Mr. Levenson also lacks personal knowledge sufficient to make paragraph 10
                  24 admissible evidence. A witness may testify to a matter only if evidence is introduced
                  25 sufficient to support a finding that the witness has personal knowledge of the matter.
                  26 Fed. R. Evid. § 602. Mr. Levenson has made no showing that he has personal
                  27 knowledge of other viewers’ experiences with the Netflix platform to draw a
                  28 conclusion with respect to other “viewer[s].” This is particularly the case when Mr.
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                       1 Levenson concludes that “no disclaimer is seen by the viewer” and that “the
                       2 disclaimer is never seen,” without providing any basis for how he is aware of other
                       3 viewers’ experiences on the platform.      As such, this paragraph is improperly
                       4 speculative, due to Mr. Levenson’s lack of personal knowledge.
                       5               2.    Exhibit 1, Hearing Transcript
                       6        Exhibit 1 is an entire transcript of statements before Parliament.           As
                       7 mentioned above, such statements are absolutely privileged and unactionable. See
                       8 Scott v. McDonnell Douglas Corp., 37 Cal. App. 3d 277, 288, 293 (1974); Pettitt v.
                       9 Levy, 28 Cal.App.3d 484, 488 (1972).
                  10            Similarly, Exhibit 1 is wholly irrelevant to Netflix’s Anti-SLAPP Motion to
                  11 Strike. Although the reasonable belief of a viewer when watching the Series, and
                  12 whether a reasonable viewer would understand the Series to be about Harvey, are
                  13 both relevant issues, Exhibit 1 does not mention Harvey’s name once. To the extent
                  14 Harvey argues that she is implicitly referenced in Exhibit 1, no reasonable person
                  15 would understand Exhibit 1’s vague references to the real-life inspirations of the
                  16 characters in the Series to be referring to Harvey. Thus, Exhibit 1 cannot be relevant
                  17 to any issues before the Court.
                  18            Exhibit 1 also contains inadmissible hearsay. Harvey cannot proffer out-of-
                  19 court statements of Mr. King, Mr. Nicholson, and others at a May 8, 2024 hearing
                  20 to prove the truth of what they state. Fed. R. Evid. §§ 801, 802. Indeed, the transcript
                  21 is entirely made up of out of court statements. To the extent Harvey attempts to use
                  22 these statements for the truth they assert, such as that individuals have identified
                  23 certain characters from the Series, these statements constitute classic examples of
                  24 inadmissible hearsay evidence.
                  25                   3.    Exhibit 2, Tudum Article
                  26            Exhibit 2 is irrelevant and inadmissible hearsay. Exhibit 2 never mentions
                  27 Harvey and no reasonable viewer of the Series would understand any statement in
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                       1 this article to concern or refer to her. As a result, it is not an identifiable statement
                       2 of fact about Harvey and irrelevant.1
                       3                4.    Exhibit 5, Sunday Times Article
                       4         Exhibit 5 is irrelevant, speculative, and inadmissible hearsay. First, with
                       5 respect to relevance, there is no reason why an author at the Sunday Times, in this
                       6 case Ms. Rosamund Urwin, and her article about the “Baby Reindeer scandal” and
                       7 “true story TV” would have any relevance to the instant anti-SLAPP Motion to
                       8 Strike, where the relevant inquiry is what reasonable viewers believe when watching
                       9 the show. Exhibit 5 also discusses other creative projects by Netflix besides the
                  10 Series, which plainly have no relevance here.
                  11             Relatedly, Exhibit 5 is also speculative and lacks proper foundation, with Ms.
                  12 Urwin lacking personal knowledge. Ms. Urwin does not explain how she came to
                  13 learn any of the facts referenced in Exhibit 5 as to the Series; Ms. Urwin does not
                  14 even confirm whether she watched the Series beyond one episode. Absent such
                  15 information, Exhibit 5 is improper on this basis as well.
                  16             Exhibit 5 also contains improper lay opinion. Ms. Urwin has not been
                  17 qualified as an expert witness, but she posits what the impact of the Series will be
                  18 on the future of television. See, e.g., Levenson Decl. Ex. 5 (“Some are concerned
                  19 that the fallout will make it harder in future to make dramas based on real events.”).
                  20 Neither Mr. Levenson nor Ms. Urwin provides any basis for how this conclusion is
                  21 based on their reasonable perception. Ms. Urwin’s article also proffers improper lay
                  22 opinions about what constitutes industry custom, and suggests that Netflix violated
                  23 this unsubstantiated custom. See, e.g., id. at 8 (“No one in the industry wants to see
                  24 the death of dramas”); id. at 7 (stating that “[o]rdinarily, TV production companies
                  25 work closely with broadcasters’ editorial policy, compliance and legal teams”). Ms.
                  26       1
                       Exhibit 2 should not be incorporated by reference because a document must be
                  27 relevant to be incorporated by reference. See Coto Settlement v. Eisenberg, 593 F.3d
                     1031, 1038 (9th Cir. 2010) (holding that for a document to be incorporated by
                  28 reference “there [must be] no disputed issues as to the document’s relevance”).
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                       1 Urwin has not been proffered as an expert and no foundation has been established to
                       2 render her lay opinion admissible, nor could it as she relies on inadmissible hearsay
                       3 and unnamed declarants for these improper opinions. See id. (sourcing her opinion
                       4 from “a TV producer who recently made a series for the BBC”); Fed. R. Evid. § 701.
                       5 This Court should not rely on Ms. Urwin’s improper proffers.
                       6         Finally, Exhibit 5 also contains inadmissible hearsay. Harvey cannot proffer
                       7 out-of-court statements of a Sunday Times article published on June 16, 2024 hearing
                       8 to prove the truth of the matter asserted. See Fed. R. Evid. § 801. Exhibit 5 also
                       9 contains layers of double hearsay, as the Exhibit also quotes, discusses, and is based
                  10 on the out-of-court statements of others, including her statements regarding industry
                  11 custom. It includes multiple statements based on unnamed sources: “[s]ources in
                  12 the TV industry have told The Sunday Times that this line was a request from
                  13 Netflix, and that Gadd expressed concerns about presenting it as such (both Netflix
                  14 and Gadd's representatives did not respond to requests for comment),” Exhibit 5 at
                  15 2; that “TV executives react[ed] with bafflement – and sometimes horror,” id.; and
                  16 “[s]ome are concerned about the fallout,” id. The article is a classic example of
                  17 double-hearsay with statements made outside of court by an out of court declarant
                  18 (Ms. Urwin) quoting purported out-of-court statements from unnamed sources.
                  19                   5.     Exhibit 6, Screenshot Excerpts from Gadd’s eBook
                  20             Exhibit 6 is another classic example of inadmissible hearsay. Fed. R. Evid.
                  21 §§ 801, 802. The Exhibit is entirely made of statements from an out of court
                  22 declarant (Gadd).
                  23             Exhibit 6 also is not properly authenticated. Under the Federal Rules of
                  24 Evidence, “the proponent must produce evidence sufficient to support a finding that
                  25 the item is what the proponent claims it is.” Fed. R. Evid. § 901. No such evidence
                  26 has been provided. Most noticeably, Mr. Levenson does not include a proof of
                  27 purchase of the ebook via Mr. Gadd’s website. Such low-quality screenshots
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                       1 purportedly of Gadd’s play, absent any other information, cannot be provably
                       2 authentic.
                       3            Lastly, these purported screenshots of Gadd’s book are irrelevant. Fed. R.
                       4 Evid. § 401. There is no reason why Gadd’s play, which is not the creative work at
                       5 issue, would have any bearing on the instant case, which pertains to reasonable
                       6 viewers’ reactions of the Series as produced. How Gadd portrayed the character of
                       7 “Martha” in the past does not demonstrate anything about what Netflix should or
                       8 should not have known, nor does it influence how reasonable viewers understand
                       9 the Series.
                  10                      6.    Exhibit 9, Netflix 10-K Form
                  11                Exhibit 9, Netflix’s 2024 10-K, is plainly irrelevant. To the extent Harvey
                  12 wishes to argue that Exhibit 9 is relevant to Netflix’s intent to earn profit via the
                  13 Series, there is no such conclusion one could draw from a form Netflix is obligated
                  14 by law to prepare. Moreover, there is no mention of the Series anywhere in the
                  15 exhibit and there is no indication the reference to “compelling content” is referring
                  16 to the Series, so Harvey’s attempted use of this exhibit is entirely misguided and
                  17 irrelevant. Consequently, there is no fact at issue in this case where Netflix’s 2024
                  18 10-K form would be relevant. For this same reason, Exhibit 9 is not suitable for
                  19 incorporation by reference. See Coto Settlement, 593 F.3d at1038 (for a document
                  20 to be incorporated by reference, there must be “no disputed issues as to the
                  21 document’s relevance”).
                  22                      7.    Paragraph 13, Laura Wray Piers Morgan Uncensored
                  23                            Interview
                  24                Ms. Wray’s Piers Morgan Uncensored interview is inadmissible hearsay. Ms.
                  25 Wray’s statements in the interview are out of court statements by a non-party and
                  26 are not subject to any hearsay exception. See Fed. R. Evid. § 803.2 Moreover, Ms.
                  27       2
                               In her Opposition, Harvey states that Wray’s statement is admissible hearsay. Opp.
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                       1 Wray’s impressions in the interview are irrelevant as the conclusions of Ms. Wray,
                       2 who was the target of a five-year harassment campaign by Harvey, are not probative
                       3 of whether any reasonable viewer of the Series would believe Martha is Harvey. See
                       4 Fed. R. Evid. §§ 401, 402; Declaration of Laura Wray in Support of Defendants’
                       5 Special Motion to Strike ¶¶ 6-31.
                       6               8.    Exhibit 10, Jennifer Tabak LinkedIn
                       7        Exhibit 10 is not relevant. Fed. R. Evid. § 401. Harvey cannot demonstrate
                       8 that the LinkedIn profile of Ms. Lisa Taback, the Vice President of Talent Relations
                       9 & Awards at Netflix, is at all relevant to any fact of consequence. Indeed, this is
                  10 further underscored by the fact that Harvey does not even reference this Exhibit in
                  11 her Opposition and only cites this exhibit in support of a misplaced, speculative
                  12 argument in an attempt to challenge one of the public articles Netflix seeks to have
                  13 judicially noticed. See Plaintiff’s Opposition to Defendants’ Request for Judicial
                  14 Notice in Support of Their Motion to Strike at 6-7.
                  15                   9.    Exhibits 11, 12, 13, Gotham and Venice Film Festival
                  16                         Website Screenshots
                  17            Similarly, Exhibits 11, 12, and 13 are also irrelevant.        Exhibit 11 is a
                  18 screenshot of the board of directors at the Gotham that does not relate to any issue
                  19 in the case. If Harvey wishes to tenuously connect Ms. Taback’s role at Netflix with
                  20 her role at the Gotham, this weak connection does not undermine any of Netflix’s
                  21 judicially noticed exhibits let alone relate to any issue before the Court. Likewise,
                  22 screenshots of websites that give awards for film and television are not probative of
                  23 any issue before the Court. Moreover, like with Exhibit 10, Harvey does not even
                  24 reference Exhibits 11, 12, or 13 in her Opposition, which further undermines their
                  25 relevance.
                  26
                  27 at 8. However, Harvey does not state under which exception and that is because
                     there is no applicable exception here as Harvey offers Wray’s statement for the truth
                  28 of the matter asserted, that “‘Martha’ is Fiona Harvey.” Id.
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                       1        Exhibits 11, 12, and 13 also constitute inadmissible hearsay as these exhibits
                       2 are written by an unknown, out of court individual. Fed. R. Evid. §§ 801, 802.
                       3        B.     Harvey Declaration and Attached Exhibits
                       4               1.    Harvey Declaration
                       5        The Harvey Declaration is similarly objectionable on numerous grounds.
                       6        In paragraph 6, Harvey purports to explain the nomination process for
                       7 potential candidates for Members of Parliament, yet she does not purport to explain
                       8 or establish that was the process that was in effect when she sought nomination as a
                       9 candidate. As a result, her statement here should be disregarded for a lack of
                  10 foundation. Fed. R. Evid. §§ 401, 402, 602. In addition, her statement here that she
                  11 “did not canvass, or make speeches, or run media advertisements seeking votes from
                  12 members of the public,” Harvey Decl. ¶ 6, is irrelevant because whether she initiated
                  13 the media coverage is irrelevant, rather the issue is whether there existed a public
                  14 controversy regarding Harvey’s attempted run for a Scottish Parliament seat and that
                  15 her involvement in politics existed in the public realm.3
                  16            In paragraph 9, Harvey’s statement that “Gadd craved attention at the bar”
                  17 and that “he flirted with me and we exchanged banter” is inadmissible because it is
                  18 conclusory, speculative, and entirely irrelevant. Harvey does not (and cannot) know
                  19 what Gadd “craved” in a pub 10 years ago and she cannot attest to this. Moreover,
                  20 her opinion that he flirted with her and that they exchanged banter is conclusory and
                  21 irrelevant as it has no probative value in connection with whether the Series (not her
                  22 understanding of events) makes a provably false statement about her.
                  23            Paragraph 13 is inadmissible as it is argumentative, an improper legal
                  24 conclusion, and conclusory. First, here Harvey improperly concludes that “Netflix
                  25 made [allegations] about me in Baby Reindeer.” Harvey Decl. ¶ 13 (emphasis
                  26
                      Exhibits M and T to the Declaration of Marvin Putnam in Support of Defendants’
                           3
                  27 Special Motion to Strike (the “Putnam Decl.”) clearly show the existence of such a
                     controversy and that her involvement in politics existed in the public realm. See
                  28 Putnam Decl. Exs. M, T.
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                       1 added). This statement presumes the ultimate issue before this Court—whether any
                       2 reasonable viewer would understand the Series to make statements of fact about
                       3 Harvey. Moreover, Harvey improperly states here that Baby Reindeer somehow
                       4 made “allegations.” The Series is a fictional television show—it cannot and did not
                       5 make any allegations, let alone any allegations about Harvey.
                       6        Second, Harvey concludes that those purported “allegations . . . are
                       7 completely false.” Id. As a threshold matter, Harvey’s statement here is entirely
                       8 conclusory and argumentative as it does not explain what these purported
                       9 “allegations” are. Albergo v. Immunosyn Corp., No. 09CV2653 DMS (AJB), 2011
                  10 U.S. Dist. LEXIS 5455, at *11 (S.D. Cal. Jan. 19, 2011) (“In opposing an anti-
                  11 SLAPP motion, ‘declarations that lack foundation or personal knowledge, or that are
                  12 argumentative, speculative, impermissible opinion, hearsay, or conclusory are to be
                  13 disregarded.’” (quoting Gilbert, 147 Cal. App. 4th at 26. More importantly,
                  14 Harvey’s conclusion here is inadmissible as an impermissible legal conclusion
                  15 opining on the central issue before this Court of whether Harvey has met her burden
                  16 that the Series makes any provably false statements about her. Fed. R. Evid. § 701.
                  17            Paragraph 14 is similarly inadmissible.     Harvey here states that she is
                  18 “horrified that Netflix included scenes in Baby Reindeer where I am having sex with
                  19 Gadd.” Harvey Decl. ¶ 6 (emphasis added). This paragraph should be entirely
                  20 disregarded because it improperly concludes, without any basis for doing so, that
                  21 Martha is Harvey. Harvey cannot testify to this as it is a legal issue before this
                  22 Court—whether the Series is reasonably interpreted to make statements about
                  23 Harvey.
                  24            Paragraph 16 also includes an impermissible legal conclusion and irrelevant
                  25 assertions. Here, Harvey declares that “[n]o one from Netflix, including Richard
                  26 Gadd,” contacted her. Harvey Decl. ¶ 16. Harvey here presupposes and erroneously
                  27 concludes that Gadd is part of Netflix and this should be disregarded as an improper
                  28 legal conclusion. Fed. R. Evid. § 701. Netflix and Gadd are separate, and one cannot
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                       1 be conflated with the other. Moreover, this fact is irrelevant to deciding whether the
                       2 Series made a provably false statement about Harvey. Fed. R. Evid. §§ 401, 402.
                       3         Paragraph 17 is also inadmissible because it is irrelevant, hearsay, lacks any
                       4 foundation, and is an improper legal conclusion. Harvey claims that she was
                       5 contacted by total strangers and members of the media “as a result of Baby
                       6 Reindeer.” This is entirely speculation and argumentative as Harvey provides no
                       7 basis to support or explain how the contact came “as a result of Baby Reindeer.”
                       8 Nor could she as Harvey cannot testify for or on behalf of other individuals.
                       9 Moreover, this is an improper legal conclusion that goes to very heart of the matter
                  10 before this Court—whether the Series is reasonably interpreted to make statements
                  11 about Harvey. In addition, this is hearsay as Harvey cannot proffer the out-of-court
                  12 statements from “strangers and members of the media” to prove the truth of what
                  13 she asserts the messages state, that the Series is about her. Finally, paragraph 17 is
                  14 entirely irrelevant as the date Harvey stated she started to receive messages, April
                  15 21, 2024, post-dates either Harvey’s self-identification or her alleged identification
                  16 by an “internet sleuth,” and thus does not demonstrate that any of the individuals
                  17 identified Harvey from the Series itself, as opposed to through Harvey’s public
                  18 statements or the work of a select number of uniquely motivated “sleuths.” See, e.g.,
                  19 Putnam Decl. Ex. S; Armstrong Decl., ¶¶ 3-4; Dingwall Decl., ¶¶ 6, 8.
                  20             Paragraph 18 is entirely inadmissible. First, Harvey’s statement “I did not do
                  21 any of the actions that Baby Reindeer says that I did” is an improper legal conclusion
                  22 as it presupposes that Martha is Harvey. Fed. R. Evid. § 701. Second, Harvey’s
                  23 statement that “Netflix has twisted my words” and that her comment in a televised
                  24 interview was not that “Baby Reindeer was not me,” but rather “that I did not do the
                  25 things Richard Gadd said I did in Baby Reindeer,” should be disregarded because it
                  26 is directly contradicted by the very video interview Harvey attempts to explain away.
                  27 Indeed, the video evidence shows the opposite of what Harvey declares under
                  28 penalty of perjury. For example, Harvey stated in the interview the Series “is a work
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                       1 of fiction,” and that Martha “cannot be me” because she “is a fictional character . . .
                       2 of [Gadd’s] imagination.” Putnam Decl. Ex A. at 7:33, 14:49, 17:22. Moreover,
                       3 when asked if she was “100% sure [Martha is] not you,” Harvey answered “yeah,
                       4 absolutely.” Id. at 16:04. Where, as here, one party’s version of events is clearly
                       5 contradicted by video evidence, then that party's version should not be credited. See
                       6 Rice v. Morehouse, 989 F.3d 1112, 1120 (9th Cir. 2021) (“We do not credit a party’s
                       7 version of events that the record, such as an unchallenged video recording of the
                       8 incident, quite clearly contradicts.”) (internal quotation marks omitted). Moreover,
                       9 the entire paragraph is argumentative and conclusory. See Gilbert, 147 Cal. App.
                  10 4th at 26.
                  11             Paragraph 19 should also be disregarded as irrelevant and an improper legal
                  12 conclusion. As a threshold matter, Harvey does not rely on paragraph 19 anywhere
                  13 in her Opposition, thus conceding that this paragraph is entirely irrelevant.
                  14 Furthermore, Harvey, again, improperly asserts that something happened “[a]s a
                  15 result of Baby Reindeer.” Harvey Decl. ¶ 19. This is an improper legal conclusion
                  16 and argumentative.
                  17             Finally, paragraph 20 is based on inadmissible hearsay and lacks any
                  18 foundation.         As described in Section III.B.3 below, Harvey fails to lay any
                  19 foundation for what this document is, how she procured it, and how it “confirm[s]”
                  20 she has never been convicted of a crime. Harvey Decl. ¶ 20. Moreover, the
                  21 “Certificate” Harvey bases her statement on is inadmissible hearsay as it is offered
                  22 for the truth of its contents, to confirm that she has never been convicted of a crime.
                  23 See Fed. R. Evid. §§ 801, 802.
                  24                   2.     Exhibits 1-23, Facebook Messages
                  25             Exhibits 1-23 of the Harvey Declaration constitute classic examples of
                  26 inadmissible hearsay and are entirely irrelevant. Fed. R. Evid. §§ 801, 802. Exhibits
                  27 1-23 purport to be social media messages sent to Harvey from unidentified third
                  28
                                                                     12
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ATTOR NEY S A T LA W
  CENT URY CI TY                                                          DEFENDANTS’ EVIDENTIARY OBJECTIONS TO
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                       1 parties and are inadmissible hearsay because they are out-of-court statements offered
                       2 for their truth and are not subject to any hearsay exception. Id. § 803.
                       3         In addition, these exhibits are entirely irrelevant as the messages do not bear
                       4 on whether reasonable viewers would understand the Series to make factual
                       5 statements about Harvey. First, most of messages do not even mention the Series,
                       6 see Harvey Decl. Exs. 1-4, 7-11, 13, 15-16, 20, 22-23, and those that do generally
                       7 inquire about a possible connection between Harvey and the Series, see id. Exs. 6,
                       8 14, 17, 18, 21. Second, every one of the messages post-dates either Harvey’s self-
                       9 identification or her alleged identification by an “internet sleuth,” and thus does not
                  10 bear on whether any of the individuals identified Harvey from the Series itself, as
                  11 opposed to through Harvey’s public statements or the work of a select number of
                  12 uniquely motivated “sleuths.” See, e.g., Putnam Decl. Ex. S; Armstrong Decl., ¶¶
                  13 3-4; Dingwall Decl., ¶¶ 6, 8. The Court should disregard Exhibits 1-23 as irrelevant
                  14 and inadmissible hearsay.
                  15                   3.     Exhibit 24, “Certificate from the United Kingdom”
                  16             Exhibit 24 entirely lacks foundation and is inadmissible hearsay. Harvey fails
                  17 to offer any evidence to “support a finding that th[is] item is what [she] claims it is.”
                  18 Fed. R. Evid. § 901. Indeed, Harvey offers no explanation as to how she obtained
                  19 this “Certificate,” how this is a “Certificate from the United Kingdom,” what a
                  20 “Certificate from the United Kingdom” is, or how this “confirm[s]” that she has
                  21 never been convicted of a crime. See Fed. R. Evid. § 901. In fact, the exhibit
                  22 undermines itself here as it specifically states that it is “not a certificate issued by
                  23 the Disclosure and Barring Service” and is merely “representative of information”
                  24 that could be issued. Harvey Decl. Ex. 24 at 2 (emphasis added).
                  25             In addition, this Exhibit is hearsay and inadmissible as an unauthenticated out-
                  26 of-court statement being offered for the truth of its unexplained contents. See Fed.
                  27 R. Evid. §§ 801-03.
                  28
                                                                     13
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                       1        C.     Hala Declaration
                       2        The Jon Hala Declaration is almost entirely irrelevant and inadmissible
                       3 hearsay.
                       4        Paragraph 3 states that he “was introduced to [Harvey] just by a colleague and
                       5 became her hair stylist” and that when Mr. Hala “started his own salon, Fiona came
                       6 with me and continues to be a frequent customer.” This has no probative value to
                       7 the claims at issue and is irrelevant and inadmissible. Fed. R. Evid. §§ 401, 402.
                       8        Paragraph 4 states that Mr. Hala understood the series was a true story, which
                       9 constitutes an improper legal conclusion and has no tendency to prove or disprove
                  10 the claims at issue. Fed. R. Evid. § 704, 401. Paragraph 4 also recounts Mr. Hala
                  11 telling his wife “that’s Fiona Harvey, my customer.” Mr. Hala’s conversation with
                  12 his wife is inadmissible hearsay. Fed. R. Evid. §§ 801, 802.
                  13            In paragraphs 5 through 8, Mr. Hala recites various perceptions of the Martha
                  14 character that remind him of Harvey. Mr. Hala’s perceptions offer no probative
                  15 value as to what a reasonable viewer’s perception of the Martha character would be
                  16 as Mr. Hala, who counts Ms. Harvey as a frequent customer, is anything but a
                  17 reasonable viewer. Fed. R. Evid. §§ 401, 602, 701.
                  18            Paragraph 7 includes speculative, improper legal conclusions regarding Gadd
                  19 and his intentions as a creator. Mr. Hala does not and cannot know what Gadd
                  20 intended in creating the Series. These statements lack foundation and are not
                  21 supported by any personal knowledge on the part of Mr. Hala. Fed. R. Evid. §§ 602.
                  22            Paragraph 8 is not based on Mr. Hala’s personal knowledge and entirely
                  23 objectionable. Indeed, he states that Gadd “depicts her standard of living and food
                  24 she ate,” but in the very next sentence admits that he no basis for this statement
                  25 because he “ha[s] never visited [her] flat.”
                  26            Paragraph 9 states that Harvey has diabetes and discusses the symptoms of
                  27 diabetes. This paragraph has no “tendency to make a fact more or less probable than
                  28 it would be without the evidence”, nor is it “of consequence in determining the
                                                                    14
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                       1 action.” Fed. R. Evid. § 401. Thus, it is inadmissible. It also includes further
                       2 speculative, improper legal conclusions regarding Gadd’s and Netflix’s intentions
                       3 behind Baby Reindeer, which lack foundation and are not supported by Mr. Hala’s
                       4 personal knowledge. Fed. R. Evid. § 602.
                       5        Paragraphs 10 and 12 express Mr. Hala’s sympathy for Harvey after April
                       6 2024. Mr. Hala’s sympathies are devoid of probative value and are inadmissible.
                       7 Fed. R. Evid. §§ 401, 402.
                       8        In paragraphs 11 and 13, Mr. Hala recounts that he “became aware that
                       9 numerous news outlets . . . were following the story,” that the story “was all over
                  10 Instagram and social media,” and that Gadd “had a small following as a terrible
                  11 comedian.” Mr. Hala lacks personal knowledge sufficient to make paragraphs 11
                  12 and 13 admissible evidence. Mr. Hala does not specify how he “became aware” of
                  13 this information or otherwise establish any foundation for these proffers. Mr. Hala
                  14 even expressly admits in paragraph 11 that he did not personally see any stories on
                  15 social media because he “do[es] not have time in the day to spend on those social
                  16 media apps.” A witness may only testify to a matter if evidence is introduced
                  17 sufficient to support a finding that the witness has personal knowledge of the matter.
                  18 Fed. R. Evid. § 602. These paragraphs, as well as Mr. Hala’s related statement in
                  19 paragraph 12 that “I understand the social media cites were filled with negative
                  20 comments about Fiona Harvey,” are inadmissible. Id.
                  21            In paragraph 14, Mr. Hala reasserts his confidence that “Martha is Fiona
                  22 Harvey”, which is speculative and unsupported by personal knowledge, lacks
                  23 foundation, and constitutes an improper legal conclusion. Fed. R. Evid. § 602. He
                  24 states that “[a]t the salon, we all talk about how closely Gadd depicted Fiona Harvey
                  25 as Martha.”         The conversations between Mr. Hala’s employees are hearsay,
                  26 improperly conclusory, and inadmissible. Fed. R. Evid. §§ 801, 802, 602.
                  27
                  28
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                       1        D.     Dingwall Declaration
                       2        The Dingwall declaration is also objectionable on several grounds.            In
                       3 paragraph 6, Mr. Dingwall describes searching Google for “real life Martha” and
                       4 finding results which “referred [him]” to Harvey. Mr. Dingwall thus admits that he
                       5 did not identify Harvey from viewing Baby Reindeer, but rather piggybacked on
                       6 research from an undisclosed “internet sleuth.” Mr. Dingwall’s evidence has no
                       7 probative value as to whether a reasonable viewer would understand the Series itself
                       8 to make statements about Harvey and is thus inadmissible as irrelevant. Fed. R.
                       9 Evid. §§ 401, 402.
                  10            In paragraph 7, Dingwall suggests that Harvey “was a completely unknown
                  11 person who was thrust in the spotlight as a result of Baby Reindeer.” Dingwall does
                  12 not offer any foundation or other personal knowledge to support this assertion, which
                  13 is speculative and constitutes an improper conclusion of law. Fed. R. Evid. §§ 602.
                  14            In paragraph 9, Dingwall states that people questioned him for writing an
                  15 article about Harvey and giving her a voice. This paragraph is inadmissible hearsay,
                  16 Fed. R. Evid. §§ 801, 802, and is also inadmissible because it has no probative value
                  17 to the claims at issue, Fed. R. Evid. §§ 401, 402. Mr. Dingwall also states in this
                  18 paragraph that “[p]eople were taking Baby Reindeer as a true story,” but fails to
                  19 establish any foundation for this statement and in any event, it is a recitation of out-
                  20 of-court statements by unidentified individuals. Thus, paragraph 9 is inadmissible
                  21 speculation, constitutes an improper legal conclusion, and is hearsay. Fed. R. Evid.
                  22 §§ 602, 701, 801, 802.
                  23            E.     Armstrong Declaration
                  24            In paragraph 4 of her declaration, Ms. Armstrong asserts that she identified
                  25 Harvey by sleuthing on the internet and Google searching details from articles
                  26 written about Baby Reindeer.           Ms. Armstrong’s internet investigation has no
                  27 probative value as to what a reasonable viewer could deduce from watching Baby
                  28 Reindeer itself. Ms. Armstrong’s research tactics have no “tendency to make a fact
                                                                   16
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                       1 more or less probable”, nor are they “of consequence in determining the action.”
                       2 Fed. R. Evid. § 401. Paragraph 4 is thus inadmissible. Id.
                       3        In paragraph 5, Ms. Armstrong states that “[she] believes” that she was one
                       4 of the first internet sleuths to compare Harvey and Martha. Her statement here—
                       5 that she “believes” something to be true—is pure conclusory speculation and
                       6 inadmissible. Fed. R. Evid. §§ 602, 701; see Milton H. Greene Archives, Inc. v.
                       7 CMG Worldwide, Inc., No. CV 05-2200, 2008 U.S. Dist. LEXIS 71761, 2008 WL
                       8 11334030, at *15 (C.D. Cal. Mar. 17, 2008) (statements such as with phrases such
                       9 as “I believe” “raise doubts as to [the declarant’s] personal knowledge.”). Ms.
                  10 Armstrong’s statement in paragraph 6 that she “do[es] not know Harvey but am
                  11 concerned for her safety” is similarly irrelevant, inadmissible, and cannot carry
                  12 weight here. Fed. R. Evid. §§ 401, 402.
                  13
                  14 IV.        TABLE OF EVIDENTIARY OBJECTIONS
                  15            For the Court’s convenience, Netflix’s provides a table of evidentiary
                  16 objections that summarizes the discussions above.
                  17                     Evidence or Paragraph                             Objections
                  18       Levenson Decl., ¶ 5: Annexed as Exhibit 3 is a true     Irrelevant (Fed. R. Evid.
                           and correct copy of a letter dated May 23, 2024 from    §§ 401, 402).
                  19
                           Netflix to the Committee clarifying its statement at
                  20       the Hearing that “the person on whom the show is        Inadmissible; privileged
                           based” was the subject of a court order and not a       (Fed. R. Evid. §§ 402,
                  21                                                               501).
                           criminal conviction.
                  22                                                               Inadmissible hearsay
                  23                                                               (Fed. R. Evid. §§ 801,
                                                                                   802).
                  24
                  25
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                       1
                                         Evidence or Paragraph                               Objections
                       2
                           Levenson Decl., ¶ 10: When Baby Reindeer is               Lack of foundation (Fed.
                       3   viewed on the Netflix platform (not the thumb drive       R. Evid. § 901).
                       4   Netflix provided to the Court) the next episode of
                           Baby Reindeer begins before the credits complete          Lacks personal
                       5   such that no disclaimer is seen by the viewer.            knowledge (Fed. R. Evid.
                                                                                     §§ 602).
                       6
                                                                                     Inadmissible speculation
                       7                                                             (Fed. R. Evid. §§ 602,
                       8                                                             701)
                       9                                                             Irrelevant (Fed. R. Evid.
                                                                                     §§ 401, 402).
                  10
                  11       Levenson Decl., ¶ 10: At the end of any episode the       Lacks personal
                           viewer is presented with this choice at the end of the    knowledge; inadmissible
                  12       episode: . . . If “Watch Credits” is not selected, then   speculation (Fed. R. Evid.
                  13       the disclaimer is never seen.                             §§ 602, 701.)

                  14                                                                 Irrelevant (Fed. R. Evid.
                                                                                     §§ 401, 402).
                  15
                           Levenson Decl. Ex. 1: Transcript of May 8, 2024           Irrelevant (Fed. R. Evid.
                  16
                           Hearing of the Culture, Media and Sport Committee         §§ 401, 402).
                  17       in the House of Commons.
                                                                                     Inadmissible; privileged
                  18                                                                 (Fed. R. Evid. §§ 401,
                  19                                                                 402, 501).

                  20                                                                 Inadmissible Hearsay
                                                                                     (Fed. R. Evid. §§ 801,
                  21                                                                 802).
                  22
                           Levenson Decl. Ex. 2: Tudum Article                       Irrelevant (Fed. R. Evid.
                  23                                                                 §§ 401, 402).
                  24                                                                 Inadmissible hearsay
                  25                                                                 (Fed. R. Evid. §§ 801,
                                                                                     802).
                  26
                  27
                  28
                                                                     18
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                       1
                                         Evidence or Paragraph                            Objections
                       2
                           Levenson Decl. Ex. 5: Article titled Will the Baby     Irrelevant (Fed. R. Evid.
                       3   Reindeer Scandal Kill ‘True Story’ TV.                 §§ 401, 402).
                       4                                                          Inadmissible hearsay
                       5                                                          (Fed. R. Evid. §§ 801,
                                                                                  802).
                       6
                                                                                  Inadmissible speculation;
                       7                                                          lacks foundation (Fed. R.
                       8                                                          Evid. §§ 602, 701).
                       9                                                          Improper Lay Opinion
                                                                                  (Fed. R. Evid. § 701).
                  10
                  11       Levenson Decl. Ex. 6: Screenshot excerpts from the     Lacks personal
                           ebook of the play, Baby Reindeer.                      knowledge & lacks
                  12                                                              foundation (Fed. R. Evid.
                  13                                                              § 602).

                  14                                                              Inadmissible hearsay
                                                                                  (Fed. R. Evid. §§ 801,
                  15                                                              802).
                  16
                                                                                  Improper authentication.
                  17                                                              (Fed. R. Evid. § 901).
                  18                                                              Irrelevant (Fed. R. Evid.
                  19                                                              §§ 401, 402).

                  20       Levenson Decl. Ex. 9: Netflix 2024 10-K                Irrelevant (Fed. R. Evid.
                                                                                  §§ 401, 402).
                  21
                           Levenson Decl. ¶ 13: Laura Wray Piers Morgan           Inadmissible hearsay
                  22
                           Uncensored Interview                                   (Fed. R. Evid. §§ 801,
                  23                                                              802).
                  24                                                              Irrelevant (Fed. R. Evid.
                  25                                                              §§ 401, 402).

                  26
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                       1
                                         Evidence or Paragraph                             Objections
                       2
                           Levenson Decl. Ex. 10: LinkedIn Profile of Lisa         Irrelevant (Fed. R. Evid.
                       3   Taback.                                                 §§ 401, 402).
                       4                                                           Inadmissible Hearsay
                       5                                                           (Fed. R. Evid. §§ 801,
                                                                                   802).
                       6
                           Levenson Decl. Ex. 11: Board of Directors page          Irrelevant (Fed. R. Evid.
                       7   from The Gotham Film & Media Institute’s website.       §§ 401, 402).
                       8
                                                                                   Inadmissible Hearsay
                       9                                                           (Fed. R. Evid. §§ 801,
                                                                                   802).
                  10
                  11       Levenson Decl. Ex. 12: copy of the Partnership page Irrelevant (Fed. R. Evid.
                           from The Gotham Film & Media Institute’s.           §§ 401, 402).
                  12
                                                                                   Inadmissible Hearsay
                  13                                                               (Fed. R. Evid. §§ 801,
                  14                                                               802).
                  15       Levenson Decl. Ex. 13: article about the Venice Film Irrelevant (Fed. R. Evid.
                           Festival sponsored by Netflix and The Gotham Film §§ 401, 402).
                  16
                           & Media Institute.
                  17                                                            Inadmissible Hearsay
                                                                                (Fed. R. Evid. §§ 801,
                  18                                                            802).
                  19
                  20
                           Harvey Decl., ¶ 6: “Unlike the primary process in       Inadmissible speculation
                  21       American politics where the public votes for a          (Fed. R. Evid. § 602,
                           nominee, under the Parliamentary system, the            701).
                  22
                           nominees who get to run for Members of Parliament
                  23       are chosen by the Labour Party itself.”                 Irrelevant (Fed. R. Evid.
                                                                                   §§ 401, 402).
                  24
                           Harvey Decl., ¶ 6: “In other words, I did not canvass, Irrelevant (Fed. R. Evid.
                  25       or make speeches, or run media advertisements          §§ 401, 402).
                  26       seeking votes from members of the public, when I
                           sought the nomination. I simply was not chosen by
                  27       the Labour Party.”
                  28
                                                                   20
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                       1
                                         Evidence or Paragraph                              Objections
                       2
                           Harvey Decl., ¶ 9: “Gadd craved attention at the bar.     Inadmissible speculation
                       3   He flirted with me and we exchanged banter”               (Fed. R. Evid. §§ 602,
                       4                                                             701).

                       5                                                             Irrelevant (Fed. R. Evid.
                                                                                     §§ 401, 402).
                       6
                           Harvey Decl., ¶ 13: The allegations Netflix made          Improper legal
                       7   about me in Baby Reindeer are completely false. I         conclusion (Fed. R. Evid.
                       8   never waited for Gadd outside his home. I never had       §§ 701, 704.)
                           any sexual contact with Gadd. I never attacked Gadd.
                       9   I never gouged his eyes or smashed a glass over his       Argumentative;
                           head. I never stalked a police officer. I have never      conclusory. See Gilbert
                  10
                           been indicted of a crime. I have never been convicted     v. Sykes, 147 Cal. App.
                  11                                                                 4th 13, 26 (2007).
                           of a crime. I have never pled guilty to a crime. I have
                  12       never been to prison.                                     Irrelevant (Fed. R. Evid.
                  13                                                                 §§ 401, 402).

                  14       Harvey Decl., ¶ 14: I am horrified that Netflix    Irrelevant (Fed. R. Evid.
                           included scenes in Baby Reindeer where I am having §§ 401, 402).
                  15       sex with Gadd.
                                                                              Improper legal
                  16
                                                                              conclusion (Fed. R. Evid.
                  17                                                          § 701).
                  18       Harvey Decl., ¶ 16: No one from Netflix, including        Irrelevant (Fed. R. Evid.
                  19       Richard Gadd, contacted me about Baby Reindeer            §§ 401, 402).
                           before or after it was released.
                  20                                                                 Improper legal
                                                                                     conclusion (Fed. R. Evid.
                  21                                                                 § 701).
                  22
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ATTOR NEY S A T LA W
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                       1
                                         Evidence or Paragraph                              Objections
                       2
                           Harvey Decl., ¶ 17: As a result of Baby Reindeer,         Irrelevant (Fed. R. Evid.
                       3   total strangers and members of the media began to         §§ 401, 402).
                       4   contact me on or about April 21, 2024 through
                           Facebook identifying me as “Martha” from Baby             Inadmissible hearsay
                       5   Reindeer. Exhibits 1-23. The Exhibits are a fraction      (Fed. R. Evid. §§ 801,
                           of the thousands, I estimate 5,000 – 10,000               802).
                       6
                           messages, I received from total strangers in response     Improper legal
                       7   to Baby Reindeer. These individuals accused me of         conclusion (Fed. R. Evid.
                       8   rape (Exhibits 1-2, 22), threatened me (Exhibits 1-2)     § 701).
                           and told me to kill myself or wished me grave harm
                       9   (Exhibits 5-6, 16). Individuals specifically
                  10       referenced the “hang my curtains” tweet. Exhibits
                           12-13, 15. Others attempted to call me. Exhibits 5,
                  11       11.
                  12       Harvey Decl., ¶ 18: As a result of being identified       Contradicted by video
                  13       and out of concern for my safety, I decided to go on      evidence. See Rice v.
                           the Piers Morgan Uncensored show to defend myself         Morehouse, 989 F.3d
                  14       and explain that while I do know Richard Gadd, I did      1112, 1120 (9th Cir.
                  15       not do any of the actions that Baby Reindeer says         2021).
                           that I did. . . . I have reviewed Netflix’s claim that
                  16       on Piers Morgan I said Baby Reindeer was not me.          Argumentative;
                           Netflix has twisted my words. My comment was              conclusory. See Gilbert,
                  17
                           that I did not do the things Richard Gadd said I did in   147 Cal. App. 4th at 26.
                  18       Baby Reindeer.                                            Improper legal
                  19                                                                 conclusion (Fed. R. Evid.
                  20                                                                 § 701).

                  21       Harvey Decl., ¶ 19: As a result of Baby Reindeer, I       Irrelevant (Fed. R. Evid.
                           had to close my Face book account and stopped             §§ 401, 402).
                  22       watching the news for fear of any story about me. I
                           am afraid to go outside out of fear of being attacked.    Improper legal
                  23
                           Some weeks I do not leave my apartment. I am              conclusion (Fed. R. Evid.
                  24       suffering from, among other things, constant panic        § 701).
                  25       attacks, chest pains, anxiety, nightmares, depression,
                           nervousness, stomach pains, loss of appetite, fear and
                  26       insomnia. The stress and anxiety is also severely
                  27       affecting my diabetes.
                  28
                                                                    22
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                       1
                                         Evidence or Paragraph                             Objections
                       2
                           Harvey Decl., ¶ 20: Annexed as Exhibit 24 is a true     Inadmissible hearsay
                       3   and correct copy of a Certificate from the United       (Fed. R. Evid. §§ 801,
                       4   Kingdom confirming that I have never been               802).
                           convicted of a crime.
                       5                                                           Lack of foundation (Fed.
                                                                                   R. Evid. § 901).
                       6
                           Harvey Decl., Exs. 1-23: Facebook messages.             Inadmissible hearsay
                       7                                                           (Fed. R. Evid. §§ 801,
                       8                                                           802).
                       9                                                           Irrelevant (Fed. R. Evid.
                                                                                   §§ 401, 402).
                  10
                  11       Harvey Decl., Exhibit 24: Certificate from the          Lack of foundation; not
                           United Kingdom confirming that I have never been        properly authenticated
                  12       convicted of a crime.                                   (Fed. R. Evid. § 901).
                  13                                                               Inadmissible hearsay
                  14                                                               (Fed. R. Evid. §§ 801,
                                                                                   802).
                  15
                           Hala Decl., ¶ 3: I have known Fiona Harvey just         Irrelevant (Fed. R. Evid.
                  16
                           under seven years, when I was introduced to her just    §§ 401, 402).
                  17       by a colleague and became a hair stylist. When I
                           started my own salon, Fiona came with me and
                  18
                           continues to be a frequent customer.
                  19
                           Hala Decl., ¶ 4: I understood, as represented very      Improper legal
                  20       early in the first episode, that the series was a “true conclusion (Fed. R. Evid.
                  21       story.” After completing the first episode, I turned to § 701).
                           her and said, “that’s Fiona Harvey, my customer.”
                  22                                                               Irrelevant (Fed. R. Evid.
                                                                                   §§ 401, 402).
                  23
                                                                                   Inadmissible Hearsay
                  24
                                                                                   (Fed. R. Evid. §§ 801,
                  25                                                               802).
                  26
                  27
                  28
                                                                   23
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  CENT URY CI TY                                                         DEFENDANTS’ EVIDENTIARY OBJECTIONS TO
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                                         Evidence or Paragraph                              Objections
                       2
                           Hala Decl., ¶ 5: That conclusion was very obvious         Irrelevant (Fed. R. Evid.
                       3   for many reasons. Fiona, like Martha in the series, is    §§ 401, 402).
                       4   a strong and spicey Scottish woman who used to live
                           in Camden. Martha looks like her. Martha sounds           Improper legal
                       5   like her. Martha dresses like her. Martha is an           conclusion (Fed. R. Evid.
                           attorney, like Fiona Harvey. Martha is very bright        § 701).
                       6
                           and, at times, extremely funny and endearing, like
                       7   Fiona Harvey. Martha, also like Fiona Harvey, is a
                       8   highly stressful individual who does have emotional
                           issues, another aspect of Martha captured in the
                       9   series.
                  10       Hala Decl., ¶ 6: Martha, like Fiona Harvey, is            Irrelevant (Fed. R. Evid.
                  11       Scottish with a strong Scottish accent. Martha is the     §§ 401, 402).
                           same age. Martha has the same cadence and, like
                  12       Fiona Harvey, is overweight with the same physical
                  13       appearance as Fiona. Martha even dresses like
                           Fiona, as they both wear big, baggy dresses. She
                  14       even wears her watch tightly strapped on her large
                  15       wrist, as Fiona does.
                  16       Hala Decl., ¶ 7: Indeed, I was very impressed how         Irrelevant (Fed. R. Evid.
                           well Richard Gadd, the writer and actor in the series,    §§ 401, 402).
                  17
                           was able to make Martha appear to be Fiona in every
                  18       way. He even has her drinking tea, which Fiona            Improper legal
                           does every time she comes into my salon. All of           conclusion (Fed. R. Evid.
                  19                                                                 § 701).
                           those characteristics are remarkably identical.
                  20
                           Hala Decl., ¶ 8: Gadd even depicts her standard of        Irrelevant (Fed. R. Evid.
                  21       living and the food she eats. While I have never          §§ 401, 402).
                  22       visited the flat, I do know that, like Martha, Fiona
                           Harvey regularly eats pre-packed, ready-made              Improper legal
                  23       microwave food. I know that because we talk about         conclusion (Fed. R. Evid.
                           it when she comes to the salon and, often times,          § 701).
                  24
                           either before or after her hair appointment, she will     Lacks personal
                  25       tell me she is going to buy that type of food. And in     knowledge; inadmissible
                  26       the series there is a scene that shows her kitchen with   speculation (Fed. R. Evid.
                           those same foods.                                         §§ 602, 701).
                  27
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  CENT URY CI TY                                                          DEFENDANTS’ EVIDENTIARY OBJECTIONS TO
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                           Hala Decl., ¶ 9: Having seen the series, I decided        Irrelevant (Fed. R. Evid.
                       3   not to tell Fiona about it because I did not want to      §§ 401, 402).
                       4   upset her. I also know that Fiona is diabetic and that
                           individuals suffering from diabetes can have difficult    Improper legal
                       5   moments, depending on their sugar intake, so I            conclusion (Fed. R. Evid.
                           intentionally did not want to tell her about the series   § 701).
                       6
                           but wondered if she was aware of Baby Reindeer and
                       7   how Gadd and Netflix produced a show about her.
                       8   Hala Decl., ¶ 10: Sometime in April 2024, after I      Irrelevant (Fed. R. Evid.
                       9   had already seen the series, Fiona Harvey came in      §§ 401, 402).
                           for a hair appointment. She was very upset and
                  10       afraid and told me there was a series about her. I did
                  11       not tell her that I had seen it as I did not want to
                           upset her.
                  12
                           Hala Decl., ¶ 11: I did not closely follow the story      Irrelevant (Fed. R. Evid.
                  13
                           but became aware that numerous news outlets,              §§ 401, 402).
                  14       including the Daily Mail and Daily Record in
                           Scotland, were following the story. I also became         Inadmissible speculation
                  15                                                                 (Fed. R. Evid. §§ 602,
                           aware that numerous individuals of my staff
                  16       followed the story which was all over Instagram and       701).
                           Facebook. They were very much aware of and on
                  17
                           top of the situation. I simply did not do so, as I do
                  18       not have time in the day to spend on those social
                           media apps.
                  19
                  20       Hala Decl., ¶ 12: As Fiona continued to come in for       Irrelevant (Fed. R. Evid.
                           her hair on occasion, she was very concerned about        §§ 401, 402).
                  21       people recognizing her as I understand the social
                           media cites were filled with negative comments            Inadmissible speculation
                  22                                                                 (Fed. R. Evid. §§ 602,
                           about Fiona Harvey. I became concerned for her
                  23       health and wellbeing.                                     701).
                  24       Hala Decl., ¶ 13: I was also generally familiar with      Irrelevant (Fed. R. Evid.
                  25       Richard Gadd before the Netflix series. He had a          §§ 401, 402).
                           small following as a terrible comedian.
                  26
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                           Hala Decl., ¶ 14: The more I watched the episodes        Irrelevant (Fed. R. Evid.
                       3   the more confident I was that Martha is Fiona            §§ 401, 402).
                       4   Harvey. There is no doubt. Indeed, my entire staff
                           and I have watched the series and recognized that it     Improper legal
                       5   is about Fiona Harvey. At the salon, we all talk         conclusion (Fed. R. Evid.
                           about how closely Gadd depicted Fiona Harvey as          § 701); Inadmissible
                       6                                                            Hearsay (Fed. R. Evid. §§
                           Martha.
                       7                                                            801, 802).
                       8   Dingwall Decl., ¶ 6: I Googled “real life Martha”  Irrelevant (Fed. R. Evid.
                           and it referred me to the X social media platform  §§ 401, 402).
                       9   where I found Fiona Harvey’s tweet to Richard Gadd
                  10       about ‘hanging her curtains’ in minutes.
                  11       Dingwall Decl., ¶ 7: She was a completely unknown        Improper legal
                  12       person who was thrust in the spotlight as a result of    conclusion (Fed. R. Evid.
                           Baby Reindeer.                                           § 701).
                  13
                                                                                    Inadmissible speculation
                  14                                                                (Fed. R. Evid. §§ 602,
                  15                                                                701).
                  16       Dingwall Decl., ¶ 9: Immediately after my article        Inadmissible Hearsay
                           was published, I received intense feedback from          (Fed. R. Evid. §§ 801,
                  17       people who questioned why I was giving a voice to        802).
                  18       Fiona Harvey, since she was a convicted criminal
                           who did the things shown in Baby Reindeer.               Irrelevant (Fed. R. Evid.
                  19                                                                §§ 401, 402).
                  20       Dingwall Decl., ¶ 9: People were taking Baby             Improper legal
                  21       Reindeer as true story.                                  conclusion (Fed. R. Evid.
                                                                                    § 701).
                  22
                                                                                    Inadmissible speculation
                  23                                                                (Fed. R. Evid. §§ 602,
                  24                                                                701).
                  25                                                                Inadmissible hearsay
                                                                                    (Fed. R. Evid. §§ 801,
                  26
                                                                                    802).
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                                         Evidence or Paragraph                              Objections
                       2
                           Armstrong Decl., ¶ 4: I found Fiona Harvey by            Irrelevant (Fed. R. Evid.
                       3   searching social media for the “curtains” comment        §§ 401, 402).
                       4   which was easy. I also found the article about
                           Harvey stalking Laura Wray referenced in Baby
                       5   Reindeer article by Googling, in essence, “barrister,
                       6   disabled child, stalker.”

                       7   Armstrong Decl., ¶ 5: So many people caught on to        Improper lay opinion
                           her identity very quickly and I was, I believe, a day    (Fed. R. Evid. § 701).
                       8   ahead of them and may have been one of the first to
                           identify her.                                            Inadmissible speculation
                       9                                                            (Fed. R. Evid. §§ 602,
                  10                                                                701).
                  11                                                                Irrelevant (Fed. R. Evid.
                  12                                                                §§ 401, 402).

                  13       Armstrong Decl., ¶ 6: I do not know Harvey but am        Irrelevant (Fed. R. Evid.
                           concerned for her safety.                                §§ 401, 402).
                  14
                  15
                  16
                           Dated: September 4, 2024                 Respectfully submitted,
                  17
                                                                    LATHAM & WATKINS LLP
                  18                                                  Marvin S. Putnam
                  19
                                                                    By /s/ Marvin S. Putnam
                  20                                                  Marvin S. Putnam
                  21                                                  Attorney for Defendants
                                                                      Netflix, Inc., and Netflix Worldwide
                  22                                                  Entertainment, LLC
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